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 1   KRESTA NORA DALY, SBN 199689
     Rothschild Wishek & Sands, LLP
 2
     901 F Street, Suite 200
 3   Sacramento, CA 95814

 4   Attorney for Aricela Villa
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 8
                      IN THE UNITED STATES DISTRICT COURT
 9
                  FOR THE EASTERN DISTRICT OF CALIFORNIA
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11
     UNITED STATES OF AMERICA,              ) Case No.: 2:07cr00515-07
                                            )
12
               Plaintiff,                   ) STIPULATION AND ORDER
                                            )
13                                          ) DATE: January 24, 2011
          v.
                                            ) TIME: 8:30 a.m.
14                                          ) JUDGE: Honorable William Shubb
     ARICELA VILLA,
                                            )
15                                          )
               Defendants.
                                            )
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          It is hereby stipulated and agreed to between the United
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     States of America through MICHAEL BECKWITH, Assistant U.S.
19
     Attorney, and defendant, Aricela Villa, through her counsel,
20
     KRESTA DALY, that the sentencing hearing of January 24, 2011 be
21
     vacated and that the sentencing hearing be set for April 25,
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     2011 at 8:30 a.m.
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     //
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     //
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     //
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     //
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          Case 2:07-cr-00515-WBS Document 265 Filed 01/24/11 Page 2 of 2


 1   DATED:   January 20, 2011        Respectfully submitted,
 2

 3

 4                                      s/Kresta Daly_____________
                                      KRESTA DALY
 5                                    Attorney for Aricela Villa
 6

 7

 8
                                        s/Kresta Daly_____________
 9   DATED:   January 20, 2011        Michael Beckwith
                                      Assistant United States Attorney
10

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12
                                   O R D E R
13
          IT IS SO ORDERED.
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     DATED:     January 21, 2011
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